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                  Exhibit 2
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Domain Name: 47E.NET
Registry Domain ID: 2052536912_DOMAIN_NET-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-19T07:30:05Z
Creation Date: 2016-08-15T18:29:14Z
Registry Expiry Date: 2021-08-15T18:29:14Z
Registrar: OnlineNIC, Inc.
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1 833-678-1173
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Name Server: NS1.DNS-DIY.NET
Name Server: NS2.DNS-DIY.NET
DNSSEC: unsigned
URL of the ICANN Whois Inaccuracy Complaint Form: https://www.icann.org/wicf/
>>> Last update of whois database: 2021-07-21T00:22:27Z <<<

Domain Name: 47e.net
Registry Domain ID: 2052536912_DOMAIN_NET-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2020-08-14T06:40:41Z
Creation Date: 2016-08-15T04:00:00Z
Registrar Registration Expiration Date: 2021-08-15T04:00:00Z
Registrar: Onlinenic Inc
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1.5107698492
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Registry Registrant ID: Not Available From Registry
Registrant Name: Anthonny
Registrant Organization: Network Service
Registrant Street: P.O.Box 160
Registrant City: Santiago
Registrant State/Province: CA
Registrant Postal Code: 95457
Registrant Country: US
Registrant Phone: +1.7073624479
Registrant Phone Ext:
Registrant Fax: +1.7073624446
Registrant Fax Ext:
Registrant Email: anothonny@yahoo.com
Registry Admin ID: Not Available From Registry
Admin Name: Anthonny
Admin Organization: Network Service
Admin Street: P.O.Box 160
Admin City: Santiago
Admin State/Province: CA
Admin Postal Code: 95457
Admin Country: US
Admin Phone: +1.7073624479
Admin Phone Ext:
Admin Fax: +1.7073624446
Admin Fax Ext:
Admin Email: anothonny@yahoo.com
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Domain Name: ROLBX.COM
Registry Domain ID: 2053290582_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-19T07:08:42Z
Creation Date: 2016-08-18T18:04:53Z
Registry Expiry Date: 2021-08-18T18:04:53Z
Registrar: OnlineNIC, Inc.
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1 833-678-1173
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Name Server: NS1.REDMONDDC.COM
Name Server: NS2.REDMONDDC.COM
DNSSEC: unsigned
URL of the ICANN Whois Inaccuracy Complaint Form: https://www.icann.org/wicf/
>>> Last update of whois database: 2021-07-21T00:08:27Z <<<

Domain Name: rolbx.com
Registry Domain ID: 2053290582_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-14T05:42:28Z
Creation Date: 2016-08-18T04:00:00Z
Registrar Registration Expiration Date: 2021-08-18T04:00:00Z
Registrar: Onlinenic Inc
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1.5107698492
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Registry Registrant ID: Not Available From Registry
Registrant Name: Anthonny
Registrant Organization: Network Service
Registrant Street: 600 W Santa Ana Blvd Ste 116
Registrant City: Santa Ana
Registrant State/Province: CA
Registrant Postal Code: 92701
Registrant Country: United
Registrant Phone: +1.7146472650
Registrant Phone Ext:
Registrant Fax: +1.7146475638
Registrant Fax Ext:
Registrant Email: anothonny@yahoo.com
Registry Admin ID: Not Available From Registry
Admin Name: Anthonny
Admin Organization: Network Service
Admin Street: 600 W Santa Ana Blvd Ste 116
Admin City: Santa Ana
Admin State/Province: CA
Admin Postal Code: 92701
Admin Country: United
Admin Phone: +1.7146472650
Admin Phone Ext:
Admin Fax: +1.7146475638
Admin Fax Ext:
Admin Email: anothonny@yahoo.com
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Domain Name: 7DT.COM
Registry Domain ID: 84942346_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-19T07:38:41Z
Creation Date: 2002-03-27T21:34:53Z
Registry Expiry Date: 2022-03-27T20:34:53Z
Registrar: OnlineNIC, Inc.
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1 833-678-1173
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Name Server: NS1.DNS-DIY.NET
Name Server: NS2.DNS-DIY.NET
DNSSEC: unsigned
URL of the ICANN Whois Inaccuracy Complaint Form: https://www.icann.org/wicf/
>>> Last update of whois database: 2021-07-21T00:10:11Z <<<

Domain Name: 7dt.com
Registry Domain ID: 84942346_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-14T05:42:18Z
Creation Date: 2002-03-28T04:00:00Z
Registrar Registration Expiration Date: 2022-03-28T04:00:00Z
Registrar: Onlinenic Inc
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1.5107698492
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Registry Registrant ID: Not Available From Registry
Registrant Name: Anthonny
Registrant Organization: Network Service
Registrant Street: 600 W Santa Ana Blvd Ste 116
Registrant City: Santa Ana
Registrant State/Province: CA
Registrant Postal Code: 92701
Registrant Country: United
Registrant Phone: +1.7146472650
Registrant Phone Ext:
Registrant Fax: +1.7146475638
Registrant Fax Ext:
Registrant Email: anothonny@yahoo.com
Registry Admin ID: Not Available From Registry
Admin Name: Anthonny
Admin Organization: Network Service
Admin Street: 600 W Santa Ana Blvd Ste 116
Admin City: Santa Ana
Admin State/Province: CA
Admin Postal Code: 92701
Admin Country: United
Admin Phone: +1.7146472650
Admin Phone Ext:
Admin Fax: +1.7146475638
Admin Fax Ext:
Admin Email: anothonny@yahoo.com
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Domain Name: WINAPI-DATABASE.COM
Registry Domain ID: 151962957_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-19T07:03:41Z
Creation Date: 2005-04-21T01:48:12Z
Registry Expiry Date: 2022-04-21T01:48:12Z
Registrar: OnlineNIC, Inc.
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1 833-678-1173
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Name Server: NS1.REDMONDDC.COM
Name Server: NS2.REDMONDDC.COM
DNSSEC: unsigned
URL of the ICANN Whois Inaccuracy Complaint Form: https://www.icann.org/wicf/
>>> Last update of whois database: 2021-07-21T00:09:26Z <<<

Domain Name: winapi-database.com
Registry Domain ID: 151962957_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-14T05:42:19Z
Creation Date: 2005-04-20T04:00:00Z
Registrar Registration Expiration Date: 2022-04-20T04:00:00Z
Registrar: Onlinenic Inc
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1.5107698492
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Registry Registrant ID: Not Available From Registry
Registrant Name: Anthonny
Registrant Organization: Network Service
Registrant Street: 600 W Santa Ana Blvd Ste 116
Registrant City: Santa Ana
Registrant State/Province: CA
Registrant Postal Code: 92701
Registrant Country: United
Registrant Phone: +1.7146472650
Registrant Phone Ext:
Registrant Fax: +1.7146475638
Registrant Fax Ext:
Registrant Email: anothonny@yahoo.com
Registry Admin ID: Not Available From Registry
Admin Name: Anthonny
Admin Organization: Network Service
Admin Street: 600 W Santa Ana Blvd Ste 116
Admin City: Santa Ana
Admin State/Province: CA
Admin Postal Code: 92701
Admin Country: United
Admin Phone: +1.7146472650
Admin Phone Ext:
Admin Fax: +1.7146475638
Admin Fax Ext:
Admin Email: anothonny@yahoo.com
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Domain Name: ASFH.COM
Registry Domain ID: 72960127_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-19T07:36:12Z
Creation Date: 2001-06-21T10:35:12Z
Registry Expiry Date: 2022-06-21T10:35:12Z
Registrar: OnlineNIC, Inc.
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1 833-678-1173
Domain Status: clientDeleteProhibited
https://icann.org/epp#clientDeleteProhibited
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Name Server: NS1.DNS-DIY.NET
Name Server: NS2.DNS-DIY.NET
DNSSEC: unsigned
URL of the ICANN Whois Inaccuracy Complaint Form: https://www.icann.org/wicf/
>>> Last update of whois database: 2021-07-21T00:10:42Z <<<

Domain Name: asfh.com
Registry Domain ID: 72960127_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date: 2021-07-14T05:42:18Z
Creation Date: 2001-06-21T04:00:00Z
Registrar Registration Expiration Date: 2022-06-21T04:00:00Z
Registrar: Onlinenic Inc
Registrar IANA ID: 82
Registrar Abuse Contact Email: abuse@onlinenic.com
Registrar Abuse Contact Phone: +1.5107698492
Domain Status: clientDeleteProhibited
https://icann.org/epp#clientDeleteProhibited
Domain Status: pendingTransfer https://icann.org/epp#pendingTransfer
Registry Registrant ID: Not Available From Registry
Registrant Name: Anthonny
Registrant Organization: Network Service
Registrant Street: 600 W Santa Ana Blvd Ste 116
Registrant City: Santa Ana
Registrant State/Province: CA
Registrant Postal Code: 92701
Registrant Country: United
Registrant Phone: +1.7146472650
Registrant Phone Ext:
Registrant Fax: +1.7146475638
Registrant Fax Ext:
Registrant Email: anothonny@yahoo.com
Registry Admin ID: Not Available From Registry
Admin Name: Anthonny
Admin Organization: Network Service
Admin Street: 600 W Santa Ana Blvd Ste 116
Admin City: Santa Ana
Admin State/Province: CA
Admin Postal Code: 92701
Admin Country: United
Admin Phone: +1.7146472650
Admin Phone Ext:
Admin Fax: +1.7146475638
Admin Fax Ext:
Admin Email: anothonny@yahoo.com
